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17                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
18                                   SAN FRANCISCO DIVISION
19
      BMA LLC, Yaroslav Kolchin, Vitaly              Case No. 3:20-cv-03345-WHO
20    Dubinin, Dmitry Dolgov, and Păun Gabriel-
      Razvan,                                        (Consolidated Case Nos. 3:20-cv-07140-
21                                                   WHO and 3:20-cv-08034-WHO)
                       Plaintiffs,
22          v.                                       DECLARATION OF STEPHEN D.
                                                     HIBBARD IN SUPPORT OF
23    HDR Global Trading Limited (A.K.A.             DEFENDANTS’ MOTION TO
      BitMEX), ABS Global Trading Limited,           DISMISS PLAINTIFFS’ SECOND
24    Arthur Hayes, Ben Delo, and Samuel Reed,       AMENDED CONSOLIDATED
                                                     COMPLAINT AND DEFENDANTS’
25                     Defendants.                   REQUEST FOR JUDICIAL NOTICE
26                                                   Date: August 25, 2021
                                                     Time: 2:00 p.m.
27                                                   Ctrm: 2 – 17th Floor
                                                     Judge: Honorable William H. Orrick
28
                                                                 HIBBARD DECL. ISO DEFS’ MTD
                                                               SACC AND RJN 3:20-cv-03345-WHO
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 1           I, Stephen D. Hibbard, declare as follows:

 2           1.      I am an attorney with the law firm of Jones Day, attorneys of record for

 3    Defendants HDR Global Trading Limited and ABS Global Trading Limited. I am licensed to

 4    practice law in the State of California. I make this declaration in support of Defendants’ Motion

 5    to Dismiss Plaintiffs’ Second Amended Consolidated Complaint and Defendants’ Request for

 6    Judicial Notice. I believe the facts stated herein to be true based upon my own personal

 7    knowledge or upon my review of the records maintained in my firm’s files. I could and would

 8    testify competently thereto if called and sworn as a witness.

 9           2.      Attached hereto as Exhibit A is a true and correct copy of a redline comparison

10    between Plaintiffs’ Second Amended Consolidated Complaint (ECF No. 153) and Plaintiffs’ First

11    Amended Consolidated Complaint (ECF No. 150), prepared by Defendants for the Court’s

12    convenience.

13           3.      Attached hereto as Exhibit B is a true and correct copy of the Third Amended

14    Complaint filed by Plaintiffs’ counsel, Pavel Pogodin, in Kanyshev v. HDR Global Trading Ltd.,

15    No. CGC-20-584483 (Cal. Super. Ct. May 13, 2021).

16           4.      Attached hereto as Exhibit C is a true and correct copy of a blog post posted by

17    OKEx on October 11, 2019 entitled OKEx vs. BitMEX: Perpetual Swap Trading Liquidity. This

18    blog post is publicly available at https://medium.com/okex-blog/okex-vs-bitmex-perpetual-swap-

19    trading-liquidity-c0b864cc8e3e (last visited June 21, 2021).

20           5.      Attached hereto as Exhibit D is a true and correct copy of a news article from

21    March 30, 2020 posted on the Bitcoinist.com website entitled Huobi Launches Bitcoin Perpetual

22    Swaps with 125x Leverage. It is publicly available at https://bitcoinist.com/huobi-launches-

23    bitcoin-perpetual-swaps-with-125x-leverage/ (last visited June 21, 2021).

24           6.      Attached hereto as Exhibit E is a true and correct copy of a blog post posted on the

25    Binance Blog on August 9, 2020 entitled Binance Launches Perpetual Futures Margined and

26    Priced with Bitcoin. It is publicly available at

27    https://www.binance.com/en/blog/421499824684900844/Binance-Launches-Perpetual-Futures-

28    Margined-and-Priced-with-Bitcoin/ (last visited June 21, 2021).
                                                                        HIBBARD DECL. ISO DEFS’ MTD
                                                         1            SACC AND RJN 3:20-cv-03345-WHO
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 1           I declare under penalty of perjury under the laws of the United States of America that the

 2    foregoing is true and correct.

 3           Executed this 21st day of June, 2021 in Tiburon, California.

 4
                                                           /s/ Stephen D. Hibbard
 5                                                        Stephen D. Hibbard
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